       Case
        Case2:17-cr-00001-JAD-DJA
             2:17-cr-00001-JAD-CWH Document
                                    Document302  Filed 05/18/18
                                             300 Filed 05/21/18 Page
                                                                 Page11ofof33


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5    Attorney for Davi Fernandes

6
                                 UNITED STATES DISTRICT COURT
7
                                     DISTRICT OF NEVADA
8
9
      UNITED STATES OF AMERICA,                         CASE NO.:    2:17-cr-0001-JAD-CWH
10
                    Plaintiff,
11                                                      MOTION TO WITHDRAW JOINDER
      vs.                                               TO DEFENDANT ANDERSON
12                                                      ALCANTARA’S MOTION TO
      DAVI FERNANDES,                                   DISMISS [ECF 263]
13
                     Defendant.
14
15
16          COMES NOW, the Defendant, DAVI FERNANDES, by and through his counsel of

17   record, LUCAS J. GAFFNEY, ESQ., and hereby moves this Honorable Court to allow him to

18   withdraw his motion to join Defendant Anderson Alcantara’s Motion to Dismiss [ECF 263].

19          DATED: May 18, 2018.                             Respectfully submitted,

20                                                           /s/ Lucas Gaffney           .
                                                             LUCAS J. GAFFNEY, ESQ.
21                                                           GAFFNEY LAW
22                                                           1050 Indigo Drive, Suite 120
                                                             Las Vegas, Nevada, 89145
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                                               Page 1
       Case
        Case2:17-cr-00001-JAD-DJA
             2:17-cr-00001-JAD-CWH Document
                                    Document302  Filed 05/18/18
                                             300 Filed 05/21/18 Page
                                                                 Page22ofof33


1                                         MEMORANDUM
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            After consultation with counsel, Mr. Fernandes respectfully requests this Honorable
3
4    Court allow him to withdraw his Motion for Joinder to Defendant Anderson Alcantara’s

5    Motion to Dismiss [ECF 263].

6
            DATED: May 18, 2018.                               Respectfully submitted,
7
8                                                              /s/ Lucas Gaffney           .
                                                               LUCAS J. GAFFNEY, ESQ.
9                                                              GAFFNEY LAW
                                                               1050 Indigo Drive, Suite 120
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                   May 21, 2018
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        Case2:17-cr-00001-JAD-DJA
             2:17-cr-00001-JAD-CWH Document
                                    Document302  Filed 05/18/18
                                             300 Filed 05/21/18 Page
                                                                 Page33ofof33


1
                               CERTIFICATE OF ELECTRONIC SERVICE
2
            I, the undersigned, hereby certify that I am an employee of Gaffney Law, a firm
3
     licensed to practice law in the District of Nevada, and I am of such age and discretion as to be
4
5    competent to serve papers.

6           That on May 18, 2018, I served an electronic copy of the above and foregoing by

7    electronic service via the ECF system.
8
9
10                                         By:   x /s/ Lucas Gaffney                              x
                                                  Employee of Gaffney Law.
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